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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



UNITED STATES OF AMERICA


    vs.                                          CASE NO.8:00-CR-347-T-24MSS
SHANNON WILKERSON
    Defendant


                                      ORDER

        The United States Sentencing Commission has promulgated Amendment 706

lowering the base offense level for cocaine base (crack cocaine) offenses by two levels

for eligible defendants sentenced on or after November 1, 2007. The Commission later

decided this Amendment should be applied retroactively to defendants sentenced before

November 1, 2007. Defendant Shannon Wilkerson having been sentenced prior to

November 1, 2007, has filed a pro se, motion to reduce sentence, alleging her eligibility

for the two-level reduction in her base offense level. The motion was filed on March 12,

2008.

        On February 20, 2008, prior to the Wilkerson’s filing her motion, the Court

entered a sua sponte order appointing the office of the Federal Public Defender to

represent Wilkerson for the purpose of seeking a reduction of Defendant’s original

sentence. The Court also ordered the United States Probation Office to provide the Court

as well as Defendant’s counsel a supplemental response to the presentence report which
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addressed whether Wilkerson was eligible for a reduction of her sentence. The Probation

Office filed the supplemental response to the presentence report stating that Wilkerson

was ineligible for a sentence reduction because Wilkerson was sentenced to a 120 month

minimum mandatory sentence. The United States Attorney filed a response stating that

Amendment 706 does not affect Wilkerson’s sentence because she was subject to a

statutory minimum sentence of 120 months and the sentence imposed was 120 months.

On March 14, 2008, the Federal Public Defender’s Office filed a response in which they

agreed that Wilkerson was ineligible for any relief under Amendment 706 and 711 based

on the 120 month minimum mandatory sentence.

      Shannon Wilkerson pled guilty to conspiracy to possess with intent to distribute 50

grams or more of cocaine base in violation of 21 U.S.C.§§846 & 841(b)(1)(A). The

offense has a statutory minimum mandatory penalty of 120 months of imprisonment.

Defendant Wilkerson was sentenced to 120 months. A two level reduction in the

U.S.S.G. base offense level would have no effect on Defendant Walkerton’s sentence

since the Court is required by statute to impose a minimum mandatory sentence of 120

months imprisonment. Accordingly the motion is DENIED.

      It is so ORDERED this 17th day of March, 2008.
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